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 2   KAREN A. ESCOBAR
     Assistant U.S. Attorney
 3   2500 Tulare Street
     Fresno, California 9372l
 4   Telephone: (559) 497-4000

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 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,          )       1:10-cr-00379 AWI
                                        )
12                                      )
                     Plaintiff,         )
13                                      )
          v.                            )       STIPULATION RE:
14                                      )       CONTINUANCE AND ORDER
                                        )
15                                      )
     GUILLERMO DIAZ,                    )
16                                      )
                                        )
17                                      )
                     Defendant.         )
18   ___________________________________)

19        Defendant GUILLERMO DIAZ, by and through his attorney, ANN

20   VORIS, and the United States of America, by and through its

21   attorneys, BENJAMIN B. WAGNER, United States Attorney, and KAREN

22   A. ESCOBAR, Assistant United States Attorney, hereby enter into

23   the following stipulation:

24        The parties to the above-captioned matter agree to vacate the

25   current motion in limine briefing schedule and agree that any

26   motions in limine will now be due on June 30 and any response

27   thereto will be due on July 8.      This new briefing schedule would

28   not affect the trial confirmation date.

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 1   DATED: June 3, 2011                            Respectfully submitted,

 2                                                  BENJAMIN B. WAGNER
                                                    United States Attorney
 3
                                                    By: /s/ Karen A. Escobar
 4                                                    KAREN A. ESCOBAR
                                                    Assistant U.S. Attorney
 5

 6                                                    /s/ Ann Voris
                                                      ANN VORIS
 7                                                    Attorney for Defendant
                                                      GUILLERMO DIAZ
 8
                                      O R D E R
 9
            Having read and considered the foregoing stipulation,
10
            IT IS THE ORDER of the Court that the current motion in
11
     limine briefing schedule is vacated.          Any motions in limine will
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     now be due on June 30 and any response thereto will be due on July
13
     8.
14
     IT IS SO ORDERED.
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16   Dated:         June 3, 2011
     0m8i78                           CHIEF UNITED STATES DISTRICT JUDGE
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